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IN THE UNITED sTATES DISTRICT coURT "
FOR THE wESTERN DISTRICT oF TENNESSEE USAUGS{ p

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VIKKI L. FRI‘I‘TS SPELLMAN,
Petitioner,

v. No. 04-2289-Ma/An

CHERRY LINDAMOOD, WARDEN,

Respondent.

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ORDER OF DISMISSAL
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

On March 26, 2004, Petitioner' Vikki L. Fritts Spellman,
Tennessee Department of Corrections prisoner number 81976, an
inmate at the Tennessee Prison for Women (“TPW”) in Nashville,
Tennessee, filed this petition pursuant to 28 U.S.C. § 2254.

In April of 1988, the petitioner pled guilty to first-degree
murder in Tipton County Circuit Court. She was sentenced to life
imprisonment. In June of 1989, petitioner filed her first petition
for post-conviction relief, alleging ineffective assistance of
counsel. Her petition was dismissed after the appointment of
counsel, but before an evidentiary hearing.

In December of 1997, the petitioner filed a second petition

for post-conviction relief, in which she alleged that she had

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received ineffective assistance of counsel when she pled guilty and
that the post-conviction statute of limitations should be tolled
because she had withdrawn her first petition due to her mental
incompetence. The trial court dismissed her petition as time-
barred.

Petitioner appealed and the Court of Criminal Appeals
determined that she had satisfied the threshold burden of raising
mental incompetence and remanded the petition for a hearing. The
State appealed and the Tennessee Supreme Court determined that due
process requires tolling of the one-year statute of limitations
where a petitioner is denied the reasonable opportunity to assert
a claim in a meaningful time and manner because of her mental
incompetence. The Court remanded the case for further proceedings.
Spellman v. State, 23 S.W.3d 272, 279 (Tenn. June 20, 2000).

Petitioner alleges that, on an unspecified date in the year
2000, she received an evidentiary hearing in the Tipton County
Circuit Court upon remand. She fails to allege the issues raised
or the result of that hearing. She does not allege whether the
trial court's ruling was appealed to the Tennessee Court of
Criminal Appeals. No reported cases exist after the Supreme Court
opinion remanding the petition.

A habeas petitioner must first exhaust available state
remedies before requesting relief under 28 U.S.C. § 2254(b).

Twenty-eight U.S.C. § 2254(b) states, in pertinent part:

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(b) (1) An application for a writ of habeas corpus on
behalf of a person in custody pursuant to the
judgment of a State court shall not be granted
unless it appears that-

(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (i) there is an. absence of available
State corrective process; or

(ii) circumstances exist that render such
process ineffective to protect the
rights of the applicant.

(2) An application for a writ of habeas corpus may
be denied on the merits, notwithstanding the
failure of the applicant to exhaust the
remedies available in the courts of the
State.
Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. Seel e.g.,
Granberrv v. Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455
U.S. 509, 519 (1982). See also Rule 4, Rules Governing Section
2254 Cases in the United States District Courts. A petitioner has
failed to exhaust her available state remedies if she has the
opportunity to raise her claim by any available state procedure.
Preiser v. Rodriguez, 411 U.S. 475, 477, 489-90 (1973).
To exhaust state remedies, the applicant must have presented
the very issue on which she seeks relief from the federal courts

to the courts of the state that she claims are wrongfully confining

her. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Rust v. Zent,

 

17 F.3d 155, 160 (6th Cir. 1994). "[A] claim for relief in habeas

corpus must include reference to a specific federal constitutional

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guarantee, as well as a statement of the facts which entitle the

 

petitioner to relief." Gray v. Netherland, 518 U.S. 152, 162-63
(1996)(citing Picard, 404 U.S. at 271). "'[T]he substance of a

federal habeas corpus claim must first be presented to the state
courts.'" gray, 518 U.S. at 163 (quoting Picard, 404 U.S. at 278).
A habeas petitioner does not satisfy the exhaustion requirement of
28 U.S.C. § 2254(b) "by presenting the state courts only with the
facts necessary to state a claim for relief." §§ay, 518 U.S. at
163.

The Antiterrorism and Effective Death Penalty Act of 1996,
Pub. L. NO. 104-132, 110 Stat. 1214 (Apr. 24, 1996) (COdified,
inter alig, at 28 U.S.C. § 2244 et seg;) (AEDPA), created a one-
year statute of limitations for filing habeas petitions under §
2254. §§e 28 UZS.C. 2244(d). “[F]or purposes of collateral
attack, a conviction becomes final at the conclusion of direct
review.” Johnson v. United States, 246 F.3d 655, 657 (6th Cir.
2001).

Because the petition as originally filed did not contain
sufficient allegations for the Court to determine whether
petitioner has exhausted the claims raised or whether the petition
was timely filed, the Court ordered Spellman to amend her petition.
Spellman was directed to allege the issues raised and addressed by
the trial court upon the remand of her case, the date of the trial

court's ruling upon her post-conviction petition, and the dates of

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rulings in any further proceedings.l The Court directed Spellman
to file the amended petition within thirty days of the entry of its
order on May 19, 2004. The order also stated:

Failure to comply with this order will result in the
dismissal of this petition.

On June 4, 2004, and July 13, 2004, Spellman sought extensions
of time to file the amended petition. The Court granted petitioner
until October 13, 2004, to file the amended petition. Petitioner
was again advised that:

Failure to comply with this order will result in the
dismissal of this petition.

On September 24, 2004, Spellman filed copies of a motion filed
with Tipton County Circuit Court and advised she had been
unsuccessful in obtaining any state court records. On December 22,
2004, Spellman again advised the Court that she had not obtained
any records from Tipton County Circuit Court. Spellman did not
seek an extension of time to file the amended petition in either
of her last two filings.

A p;Q §§ plaintiff's complaint may be dismissed when the
plaintiff has been directed to comply with a court order and has
been given notice that dismissal will be the penalty for failure

to comply. Jourdan v. Jabe, 951 F.2d 108, 110 (6th Cir. 1991)

 

1 The failure to include the dates of the state court decisions,

including any appeal, after the remand of petitioner's case prevents the Court
from determining whether petitioner was required to seek leave to appeal the
decisions to the Tennessee Supreme Court to exhaust her state remedies.
Effective June 28, 2001, petitioners were not required to seek leave to appeal
to the Tennessee Supreme Court to exhaust their claims under Tennessee Supreme
Court Rule 39.

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(holding that dismissal is appropriate when a party fails to comply
with readily comprehensible instructions in court order); Harris
v. Callwood, 844 F.2d 1254, 1256 (6th Cir. 1988).

Spellman has failed to demonstrate that she has exhausted her
state remedies on any claim presented in this petition or that
pursuit of available state remedies would be fruitless because
"circumstances exist that render such process ineffective to
protect the rights of the applicant." 28 U.S.C. §
2254(b)(1)(B)(ii). District courts that dismiss claims pending
exhaustion should dismiss only the unexhausted claims and should
retain jurisdiction over any exhausted claims. gee Hill v.
Anderson, 300 F.3d 679, 683 (6th cir. 2002).

Petitioner has failed to comply with the Court’s order to
amend her petitioner, and thus, failed to demonstrate that any
claims included in this petition are exhausted. Accordingly,
pursuant to Rule 41(b) and 28 U.S.C. § 2254(b), the Court DISMISSES
without prejudice Petitioner’s habeas petition.

The Court must determine whether to issue a certificate of
appealability (“COA”). Under 28 U.S.C. § 2253(a), the district
court considers whether to issue a certificate of appealability
whenever it dismisses a § 2254 petition. The statute provides:

(1) Unless a circuit justice or judge issues a

certificate of appealability, an appeal may not be
taken to the court of appeals from-
(A) the final order in a habeas corpus proceeding

in which the detention complained of arises
out of process issued by a State court; or

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(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.

(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).
28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio

Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district

 

judges may issue certificates of appealability under the AEDPA).
No § 2255 movant may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme

 

Court stated that § 2253 is a codification of the standard

announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which

 

requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue limitations
on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require

a showing that the appeal will succeed. Accordingly, a

court of appeals should not decline the application of

a COA merely because it believes the applicant will not

demonstrate an entitlement to relief. The holding in

Slack would mean very little if appellate review were
denied because the prisoner did.not convince a judge, or,

 

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for that matter, three judges, that he or she would
prevail. It is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.‘”

Miller s1 v. cockrell, 123 s. ct. 1029, 1039 (2003) (quoting
Barefoot, 463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more than

the absence of frivolity'” or the existence of mere “good

faith” on his or her part. . . . We do not require

petitioners to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus.

Indeed, a clainlcan be debatable even though every jurist

of reason might agree, after the COA has been granted and

the case has received full consideration, that petitioner

will not prevail.
Id. at 1040 (quoting Barefoot, 463 U.S. at 893); see also id. at
1042 (cautioning courts against conflating their analysis of the
merits with the decision about whether to issue a COA; “The
question is the debatability' of the underlying constitutional
claim, not the resolution of that debate.”).2

In this case, there can be no question that any appeal by this
Petitioner does not deserve attention, because there can be no
question that Petitioner has failed to timely amend her complaint
to demonstrate exhaustion of state remedies on the claims presented

in the instant habeas petition. The Court therefore DENIES a

certificate of appealability.

 

3 By the same token, the Supreme Court also emphasized that “[o]ur
holding should not be misconstrued as directing that a COA always must issue."
Miller El, 123 S. Ct. at 1039. Instead, the COA requirement implements a system
of “differential treatment of those appeals deserving of attention from those
that plainly do not.” ldé at 1040.

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Also as to any appeal, the United States Court of Appeals for
the Sixth Circuit has held that the Prison Litigation Reform Act
of 1995 (“PLRA”), 28 U.S.C. § 1915(b), does not apply to appeals
of orders denying § 2254 petitions. Kincade v. Sparkman, 117 F.3d
949, 951 (6th Cir. 1997); gf. McGore v. Wrigglesworth, 114 F.3d 601
(6th Cir. 1997) (instructing courts regarding proper PLRA
procedures in prisoner civil-rights cases). Rather, to seek leave
to appeal in forma pauperis in a § 2254 case, and thereby avoid the
$255 filing fee required by 28 UlS.C. §§ 1913 and 1917,3 the
petitioner must seek permission from the district court under Rule
24(a) of the Federal Rules of Appellate Procedure. Kincade, 117
F.3d at 952. If the motion is denied, the petitioner may renew the
motion in the appellate court.

Rule 24(a) of the Federal Rules of Appellate Procedure states,
in pertinent part that:

A party to an action in a district court who desires to

proceed on appeal ig forma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Form 4 of the Appendix of Forms, the party's inability

to pay fees and costs or to give security therefor, the

party's belief that party is entitled to redress, and a

statement of the issues which that party intends to
present on appeal.

 

 

3 Effective November 1, 2003, the fee for docketing an appeal is $250.

See Judicial Conference Schedule of Fees, I 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing,
or notice of the allowance of, an appeal or of a writ of certiorari
$5 shall be paid to the clerk of the district court, by the
appellant or petitioner.

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The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons
the Court denies a certificate of appealability, the Court
determines that any appeal in this case would not be taken in good
faith. It is therefore CERTIFIED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by this defendant is not

taken in good faith, and she may not proceed on appeal in forma

pauperis.

IT Is so cansasn this 3°"` day of August, 2005.
sAMUEL H. MAYs, JR.
uNITsD sTATEs DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

